               Case 8:15-cv-00870-PWG Document 1 Filed 03/26/15 Page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


JOSEPH HOOKER,

          Plaintiff,

v.                                                       )      Case No.

COMENITY LLC;
ASSET ACCEPTANCE, LLC;
EQUIFAX INFORMATION SERVICES, LLC;
EXPERIAN INFORMATION SOLUTIONS,
INC.; and
TRANSUNION, LLC

          Defendants.

                                       NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1331, 1332, 1367, 1441, 1446, and Local Rule 103.5,

Defendant Experian Information Solutions, Inc. ("Experian") files this Notice of Removal and

states as follows:

          1.       Experian is a defendant in Case Number CAL 15-00716 filed in the Circuit Court

of Maryland for Prince George's County (the "State Court Action").

          2.       Plaintiff filed his complaint in the Circuit Court of Maryland for Prince George's

County on January 30, 2015. See Circuit Court Complaint, attached hereto as Exhibit 1.

Experian was served with the Summons and Complaint on February 27, 2015. This Notice of

Removal is timely filed pursuant to 28 U.S.C. § 1446, as thirty (30) days have not elapsed since

Experian was served with the summons or initial pleading setting forth Plaintiff s claim for

relief.

          3.       The State Court Action includes claims that Experian violated the Fair Credit

Reporting Act, 15 U.S.C. § 1681 et seq. See Complaint at         92-110. Thus this Court has original
         Case 8:15-cv-00870-PWG Document 1 Filed 03/26/15 Page 2 of 4




jurisdiction over the above-captioned action pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1441, and

15 U.S.C. § 168lp.

        4.      This Notice of Removal will be filed promptly in the State Court Action and

served upon Plaintiff; Comenity LLC; Asset Acceptance, LLC; Equifax Information Services,

LLC; and TransUnion, LLC, the other parties in the State Court Action.

        5.      At the present time and at the commencement of the State Court Action, Plaintiff

is and was an individual citizen of the State of Maryland.

        6.      At the present time and at the commencement of the State Court Action, Experian

is and was a corporation incorporated under the law of the State of Ohio with its principal place

of business in California.

        7.      At the present time and at the commencement of the State Court Action,

Comenity LLC is and was a corporation incorporated under the law of the State of Delaware

with its principal place of business in Ohio,

        8.      At the present time and at the commencement of the State Court Action, Asset

Acceptance, LLC is and was a corporation incorporated under the law of the State of Delaware

with its principal place of business in Michigan.

        9.      At the present time and at the commencement of the State Court Action, Equifax

Information Services, LLC is and was a corporation incorporated under the law of the State of

Georgia with its principal place of business in Georgia.

        10.     At the present time and at the commencement of the State Court Action,

TransUnion, LLC is and was a corporation incorporated under the law of the State of Delaware

with its principal place of business in Illinois.




                                                    2
         Case 8:15-cv-00870-PWG Document 1 Filed 03/26/15 Page 3 of 4



       11.       As it appears from the papers filed in the State Court Action by Plaintiff that

Plaintiff is seeking more than $75,000.00 in damages, based on Plaintiffs request for actual,

statutory, and punitive damages, and other relief, in addition to an award of $25,000 for

representing the class in his claims against Asset Acceptance, LLC, the amount in controversy in

the State Court Action exceeds the sum of $75,000.00, exclusive of interest and costs.

       12.       Accordingly, this Court has original jurisdiction over the above-captioned action

pursuant to 28 U.S.C. § 1332. Thus, the above-captioned action may be removed pursuant to 28

U.S.C. § 1441.

       13.       Additionally, pursuant to 28 U.S.C. §1367, this Court has supplemental

jurisdiction over Plaintiffs state law claims.

       14.       The following process, pleadings, documents and orders were served upon

Experian and/or were filed in the State Court Action:

             •   Plaintiffs Complaint, filed in the Circuit Court for Prince George's County on
                 January 30, 2015, attached hereto as Exhibit 1.

             •   Writ of Summons, issued by the Circuit Court for Prince George's County on
                 February 9, 2015, attached hereto as Exhibit 2.

             •   Memorandum and Order of Court, filed on February 13, 2015, attached hereto as
                 Exhibit 3.

             •   Notice of Hearing, filed on February 27, 2015, attached hereto as Exhibit 4.

       Within 30 days after filing this Notice of Removal, Experian shall file true and legible

copies of all other documents filed in state court in accordance with Local Rule 103.5a.

       WHEREFORE, Experian removes the subject action from the Circuit Court for Prince

George's County to this United States District Court for the District of Maryland.




                                                   3
         Case 8:15-cv-00870-PWG Document 1 Filed 03/26/15 Page 4 of 4




Dated: March 26, 2015                    SHULMAN, ROGERS, GANDAL,
                                          PORDY & ECKER, P.A.



                                             Sandy David Baron
                                             12505 Park Potomac Avenue, 6th Floor
                                             Potomac, Maryland 20854
                                             (301)255-0547
                                             Counsel for Experian Information Solutions, Inc.


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Defendant's Notice of Removal and
Defendant's Civil Cover Sheet was served by first class mail, postage prepaid, on this 26th day
of March, 2015, to:

               Joseph Hooker
               1009 Trebing Lane
               Largo, MD 20774

               Comenity LLC
               CT Corporation System
               1300 East Ninth Street
               Cleveland, OH 44114

               Asset Acceptance, LLC
               CSC-Lawyers Incorporating Service Company
               7 Saint Paul Street, Suite 820
               Baltimore, MD 21202

               Equifax Information Services, LLC
               CSC-Lawyers Incorporating Service Company
               7 Saint Paul Street, Suite 820
               Baltimore, MD 21202

               TransUnion, LLC
               CSC-Lawyers Incorportaing Service Company
               7 Saint Paul Street, Suite 820
               Baltimore, MD 21202


                                                    Sandy David Baron


                                                4
